Case 2:04-cr-20411-SH|\/| Document 42 Filed 07/15/05 Page 1 of 2 Page|D 45

IN THE UNITED STATES DISTRICT C _-UR'I'
FOR 'I‘HE WESTERN DISTRICT OF TENN BY """'""

ES R.N
W TE DIVISION USJUL 15 Puh 5

 

UNITED sTATES oF AMERICA, MMAS_M.GGUD
uswa
vs. No. 04-20 @H@ WWVB
LARRY HILL,
Defendant.

 

ORDER DIRECTING ISSUANCE OF
WRI'I‘ OF‘ HABEAS CORPUS AD TESTIFICANDUM

 

The Clerk of the Court is hereby ORDERED to issue a Writ of
Habeas Corpus ad Testificandum to the Shelby County Sheriff, 201
Poplar, Memphis, Tennessee, compelling him to produce Cario
Dotson, Reg. No. 202664, and Booking No. 04123225, in Courtroom
Number 2, Clifford Davis Federal Building, Memphis, Tennessee, to
testify at the sentencing of defendant Larry Hill, before Judge
Samuel H. Mays, Jr. on Monday, July 18, 2002, at 9:00 a.m., and

such other times as the Court may direct.

 

IT Is so oRnEREn this iq ay cf July, 2005.

MK

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This comment entered on the docket sheet tn mp|lan s
with lime 55 and/or 32{b1 FRCrP on _2"._;§@;'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:04-CR-204]1 Was distributed by faX, mail, or direct printing on
July ]9, 2005 to the parties listed.

 

 

Katrina U. Earley

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Honorable Samuel Mays
US DISTRICT COURT

